              Case 1:20-cv-02099-VM Document 11 Filed 08/06/20 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

                                  Case No.: 1:20-cv-02099-VM

SWEDISHANDSTYLISH LLC,
a Florida limited liability company,

         Plaintiff,

v.

CHRISTIAN DIOR, INC.
a New York corporation,

         Defendant.

_______________________________/

                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
             PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)

         Plaintiff SWEDISHANDSTYLISH LLC, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), hereby gives notice of voluntarily dismissing the above-styled action, with

prejudice, each party to bear their own attorneys’ fees and costs.

Date: August 6, 2020.
                                              Respectfully submitted,

                                              By: __/s/ David Brafman________________
                                                  David Brafman
                                                  AKERMAN LLP
                                                  777 South Flagler Drive
                                                  Suite 1100, West Tower
                                                  West Palm Beach, FL 33401
                                                  Tel.: (561) 653-5000
                                                  Fax: (561) 659-6313
                                                  Email: david.brafman@akerman.com

                                                  Counsel for Plaintiff Swedishandstylish, LLP




54127253;1
